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                                                                           United States District Court
                                                                             Southern District of Texas

                     UNITED STATES DISTRICT COURT                               ENTERED
                  FOR THE SOUTHERN DISTRICT OF TEXAS                            April 26, 2024
                           HOUSTON DIVISION                                  Nathan Ochsner, Clerk



3rd Ward Holdings, LLC                    §
                                          §
versus                                    §         Civil Action 4:24−cv−01277
                                          §
U.S. Bank Trust National Association, not §
in its individual capacity but solely as
trustee of HOF Grantor Trust 1


                      ORDER STRIKING PLEADING
      Pending before the Court is Motion to Dismiss for Failure to State a Claim − #4.
The instrument is deficient for the following reason(s):

          The motion does not comply with the Courts Procedures section 6(E),
          regarding discovery and scheduling disputes.

          The motion does not comply with the Courts Procedures section 6(B),
          regarding pre-motion conferences required for particular motions.

          The motion does not comply with the Courts Procedures section 6(C)(2),
          which requires a certificate of conference for all motions.

          The motion does not comply with the Courts Procedures section 6(C)(3),
          which requires a separate proposed order for all motions except those filed
          under Federal Rule of Civil Procedure 56.


      The Clerk is hereby ORDERED to strike the above instrument(s) from the record
and notify counsel of such action.

     Signed on April 26, 2024, at Houston, Texas.
